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 6                     IN THE UNITED STATES DISTRICT COURT

 7                            FOR THE DISTRICT OF ARIZONA

 8   Hualapai Indian Tribe of the Hualapai Indian
 9   Reservation, Arizona,                          No. CV-24-08154-PCT-DJH

10                       Plaintiff,
11                                                  FEDERAL DEFENDANTS’
     v.                                             OPPOSITION TO MOTION
12                                                  FOR LEAVE TO FILE AMICUS
     Debra Haaland, et al.,                         CURIAE BRIEF BY STATE OF
13
                                                    ARIZONA
14                       Defendants,

15   and
16
     Arizona Lithium, Ltd.
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18                       Intervenor Defendants.

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 1          Federal Defendants oppose as untimely Arizona’s September 16, 2024 motion for
 2   leave to file an amicus brief in support of Hualapai’s Motion for Preliminary Injunction.
 3   Arizona’s sought leave to file an amicus brief in support of Hualapai’s motion comes 31
 4   days after that motion, 28 days after Federal Defendants’ response, 12 days after Federal
 5   Defendants and Arizona Lithium’s sur-replies, and 1 day before an evidentiary hearing
 6   on the motion. Arizona’s brief is untimely for two reasons.
 7          First, as Arizona acknowledges, the Federal Rules of Appellate Procedure are
 8   persuasive authority on the timeliness of amicus briefs. ECF No. 51 at 2. They require
 9   that an amicus brief be filed “no later than 7 days after the principal brief of the party
10   being supported is filed.” USCS Fed Rules App Proc R 29. Arizona’s proposed brief
11   missed that deadline by 26 days. And the untimeliness here is exacerbated by Arizona
12   filing the proposed brief: 1) after Federal Defendants filed their opposition to Hualapai’s
13   motion for a preliminary injunction; 2) after Federal Defendants filed their sur-reply in
14   opposition to Hualapai’s motion; and 3) on the eve of an evidentiary hearing on
15   Hualapai’s motion. See Vashisht-Rota v. Harrisburg Univ., 2020 U.S. Dist. LEXIS
16   261140, *4-5 (S.D. Cal. Aug. 6, 2020) (denying motion to file amicus brief after
17   defendant’s reply brief); Friends of Animals v. U.S. Fish & Wildlife Serv., 2021 U.S. Dist.
18   LEXIS 187246, *4 (D. Utah Sept. 28, 2021); In re Grand Jury Witness, 695 F.2d 359,
19   363 (9th Cir. 1982) (denying motion to file amicus after briefing was complete as
20   untimely).
21          Second, Arizona’s effort to justify its tardiness is, at best, unpersuasive. Arizona’s
22   sole effort to justify the timing of its motion is an assertion that it “only recently became
23   aware of the need to intervene based on defendants sur-replies . . . that ‘double down’ on
24   the issue of interest to the state.” ECF 51 at 2. In other words, Arizona suggests that its
25   delay is justified because Federal Defendants’ sur-reply affirmed arguments that Federal
26   Defendants first raised in their August 19 opposition to Hualapai’s motion for a
27   preliminary injunction. ECF No. 15. Arizona’s admitted delay in seeking to address
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 1   arguments first raised on August 19 is a reason to deny, rather than grant, Arizona’s
 2   motion.
 3          While Federal Defendants submit that the Court should deny Arizona’s untimely
 4   motion, in the event that the Court permits Arizona to file its proposed amicus brief,
 5   Federal Defendants request an opportunity to respond.
 6   Respectfully submitted this 20th day of September 2024.
 7
 8                                       Todd Kim
                                         Assistant Attorney General
 9
10                                       /s/ Matthew Marinelli
                                         Daniel Luecke (CA Bar No. 326695)
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